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 8                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 9                                       OAKLAND DIVISION
10                                                            ) Chapter 13 Case No.: 13-40093-WJL
     In re                                                    )
11             Patricia Maria Murillo                         ) SECOND AMENDED APPLICATION TO
                                                              ) MODIFY CHAPTER 13 PLAN
12                                                            )
                                                              )
13             20875 Chester St                               )
               Castro Valley, CA 94546                        )
14                                                            )
               SS#: xxx-xx-3605                               )
15                                                            )
                                                              )
16                                                            )
                                              Debtor          )
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18           The Debtor, Patricia Maria Murillo, respectfully requests the Court allow Debtor to
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     modify the Chapter 13 Plan as follows:
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         1. Change Section 7 in the Chapter 13 Plan to the following language:
21
             The Deed of Trust with CitiMortgage, Inc. (hereinafter Creditor) encumbers the real property located
22           at 20875 Chester Street, Castro Valley, CA 94546 ("Subject Property"), and secures a loan that is the
             subject of a currently pending sale. Debtor's pre-petition arrears are listed in Creditor's Proof of Claim
23           in the amount of $58,174.64. This amount will be paid through Debtor’s Chapter 13 plan, via check
             exchange with the Trustee, upon the sale of the Subject Property within 30 days from the filing of the
24           Application to Modify the Chapter 13 Plan.

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         The reason for the modification of the Chapter 13 plan is that the Debtor was unable to
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27   obtain a loan modification and must now sell the property located at 20875 Chester Street,

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     Castro Valley, CA 94546. Mortgage arrears will be paid through Debtor’s Chapter 13 plan,
 1

 2   via check exchange with the Trustee, upon the sale of that property.

 3      The Debtor respectfully requests the Court enter an order granting the requested
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     modification as set forth above.
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 7   Date: August 14, 2015                        /s/ Stan E. Riddle
                                                  Stan E. Riddle, Attorney for Debtor
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